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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


REBECCA VEGA, individually and on behalf of
all others similarly situated,                      Civ. No. 2:22-cv-02049
                                 Plaintiff,
       v.


L’OREAL USA, INC.,

                                Defendant.

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)(1)(A)(i)


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff voluntarily dismiss their claims against
Defendant L’Oreal USA, Inc. without prejudice. Neither an answer to the complaint nor a motion
for summary judgment has been served. A class has not been certified. The parties agree to bear
their own costs.


                                                    Respectfully submitted,
Dated: June 8, 2022
                                                    SEEGER WEISS LLP

                                              By:   /s/ Christopher A. Seeger
                                                    Christopher A. Seeger

                                                    Christopher A. Seeger
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                                                    Attorneys for Plaintiff and the Proposed Class
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2022, I caused the forgoing Notice of Voluntary Dismissal

to be filed with the Clerk of the Court using the CM/ECF system, which will send a notification to all

counsel of record.



                                                /s/ Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER




Dated: June 8, 2022
